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11   Attorneys for WISP, INC.

12

13                                   UNITED STATES DISTRICT COURT

14                              NORTHERN DISTRICT OF CALIFORNIA

15                                        OAKLAND DIVISION

16

17   B.C., M.D., A.F., K.S.B. & A.W., individually     )   Case No.: 4:23-cv-06155-DMR
     and on behalf of all Others similarly situated,   )
18                                                     )   STIPULATION OF CHANGE IN
                       Plaintiffs,                     )   COUNSEL AND ORDER
19                                                     )
            v.                                         )   Judge:      Donna M. Ryu
20                                                     )   Trial Date: None Set
     WISP, INC.,                                       )
21                                                     )
                       Defendant.                      )
22                                                     )

23          Pursuant to Civil Local Rules 5-1(c)(2) and 11-5, Defendant Wisp, Inc. hereby substitutes
24   Jay Pomerantz, Tyler Newby, Garner Kropp and William Shuldiner of Fenwick & West LLP, 555
25   California Street, 12th Floor, San Francisco, CA 94104, (415) 875-2300, as attorneys of record in
26   place and instead of Fletcher C. Alford and Kevin Liu, of Gordon Rees Scully Mansukhani, LLP,
27   275 Battery Street, Suite 2000, San Francisco, CA 94111, (415) 986-5900.
28
      SUBSTITUTION OF COUNSEL AND
      ORDER                                                                Case No.: 4:23-cv-06155-DMR
       Case 4:23-cv-06155-DMR Document 20 Filed 03/14/24 Page 2 of 3




 1   I consent to the above substitution.

 2   Dated: March 11, 2024                       /s/__Monica Cepak_
                                                 Monica Cepak
 3                                               WISP, INC.

 4   Above substitution accepted.
 5   Dated: March 11, 2024                       FENWICK & WEST LLP
 6
                                                 By: /s/ Tyler G. Newby
 7                                                   Tyler G. Newby
 8

 9   I consent to the above substitution.

10   Dated: March 11, 2024                       GORDON REES SCULLY MANSUKHANI LLP

11
                                                 By: /s/Fletcher C. Alford
12                                                   FLETCHER C. ALFORD (CSB No. 152314)
                                                     KEVIN LIU (CSB No. 295287)
13
                                                 Attorneys for Defendant
14                                               WISP, INC.

15

16

17
                                      ATTESTATION OF SIGNATURES
18
            The undersigned attests that concurrence in the filing of the foregoing document was
19
     obtained from all signatories.
20                                               /s/Tyler G. Newby
                                                     Tyler G. Newby
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28
      SUBSTITUTION OF COUNSEL AND
      ORDER                                         2                      Case No.: 4:23-cv-06155-DMR
       Case 4:23-cv-06155-DMR Document 20 Filed 03/14/24 Page 3 of 3




 1                                  ORDER

 2   APPROVED: PURSUANT TO STIPULATION, IT IS SO ORDERED.
                                                            S DISTRICT
     Dated: March 14 , 2024                               TE
 3                                                      TA             C




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 7                                          _______________________________
                                                          R
                                            DONNA M. RYU
 8                                          Chief Magistrate Judge

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      SUBSTITUTION OF COUNSEL AND
      ORDER                                   3                                     Case No.: 4:23-cv-06155-DMR
